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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     BRYON U JACKSON,                                  Case No. 21-cv-08458-LB (AGT)
                                   5                    Plaintiff,
                                                                                           CLERK'S NOTICE SETTING
                                   6             v.                                        SETTLEMENT CONFERENCE
                                   7     TARGET CORPORATON,
                                   8                    Defendant.

                                   9

                                  10   TO ALL PARTIES AND COUNSEL OF RECORD:

                                  11          You are hereby notified that a settlement conference is scheduled for September 7, 2022 at

                                  12   10:00 A.M. This proceeding will be a non-public Zoom video conferencing meeting. The Court
Northern District of California
 United States District Court




                                  13   expects attorneys and clients to be available all day during the settlement conference and not to

                                  14   schedule other matters during that time. Attorneys and their clients may be in separate locations,

                                  15   but attorneys and clients must have computers with cameras and audio capability. Any deviation

                                  16   from these instructions must have prior court approval. A link to the Court’s video

                                  17   conferencing meeting is located on the Court’s website at https://cand.uscourts.gov/judges/tse-

                                  18   alex-g-agt/. Note, the Court will use Zoom meetings as opposed to Zoom webinars for

                                  19   settlement conferences. Therefore, information on how to join the settlement conference is

                                  20   located under the subheading “Joining Non-Public Hearings (Settlement Conferences, etc.)”.

                                  21   Settlement conference statements shall be lodged with the Court no later than August 31, 2022.

                                  22   Parties are referred to Judge Tse’s Settlement Conference Standing Order at

                                  23   https://www.cand.uscourts.gov/tse-alex-g-agt.

                                  24   Dated: June 21, 2022
                                                                                        Mark B. Busby
                                  25                                                    Clerk, United States District Court
                                  26
                                                                                        ________________________
                                  27                                                    Stephen Ybarra, Deputy Clerk to the
                                                                                        Honorable ALEX G. TSE
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